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Attorneys for the United States of America


                              UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA ex rel.
 PASCALE L. SNODGRASS,                             Case No. 1:16-cv-00490-DVB
                Plaintiffs,
                                                   JOINT STIPULATION OF DISMISSAL
 v.

 SAINT ALPHONSUS REGIONAL
 MEDICAL CENTER, INC. and TRINITY
 HEALTH CORPORATION,

                Defendants.



       The United States, Relator Pascale L. Snodgrass, and Defendants Saint Alphonsus

Regional Medical Center, Inc. and Trinity Health Corporation hereby seek dismissal of this

action pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii). This action is being dismissed:

(a) subject to the terms of the parties’ settlement; (b) with prejudice as to the Covered Conduct

defined in the settlement agreement; (c) with prejudice as to Relator’s retaliation claim; and (d)

without prejudice as to any other claims.


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       The parties request that only the Complaint, the United States' Notice of Election to

Intervene for Purposes of Settlement, this Joint Stipulation of Dismissal, and the accompanying

Order be unsealed.

       All other contents of the Court's file in this matter (including, but not limited to, any

applications filed by the United States for an extension of the sixty-day investigative period or

for any other reason, memoranda, and supporting documents) should remain under seal and not

be made public.

       Except as provided in the settlement agreement, each party agrees to bear its own costs

and attorney fees.

       A proposed order accompanies this notice.

       DATED this 27th day of November 2017.

                                              BART M. DAVIS
                                              UNITED STATES ATTORNEY
                                              By:


                                              /s/ James P. Schaefer
                                              JAMES P. SCHAEFER
                                              Assistant United States Attorney


                                              /s/ Skip Sperry
                                              SKIP SPERRY
                                              Sperry Law Office PLLC
                                              Counsel for Relator Pascale Snodgrass


                                              /s/ Robert Homchick
                                              ROBERT HOMCHICK
                                              Davis Wright Tremaine LLP
                                              Counsel for Defendants




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 27th, 2017, the foregoing JOINT

STIPULATION OF DISMISS was electronically filed with the Clerk of the Court using the

CM/ECF system which sent a Notice of Electronic Filing to the following person(s):

        N/A

        And, I hereby certify that the following listed participants were served by United States

Mail:

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                                                     /s/ Jessica Black
                                                     Jessica Black
                                                     Legal Assistant




JOINT STIPULATION OF DISMISSAL -3
